•   The NAME Board of Directors has taken a stance on the term "Excited Delirium"
    with a ratified position statement in late March of 2023. The statement declares
    "Although the terms “Excited Delirium” or “Excited Delirium Syndrome” have
    been used by forensic pathologists as a cause of death in the past, these terms
    are not endorsed by NAME or recognized in renewed classifications of the WHO,
    ICD-10, and DSM-V. Instead, NAME endorses that the underlying cause, natural
    or unnatural (to include trauma), for the delirious state be determined (if possible)
    and used for death certification." This is a step in ensuring accurate and
    accountable forensic pathology practices.

•   The eagerly awaited NAME Forensic Pathology Fellowship Match is just around
    the corner. With program directors ranking their applicants, applicants ranking
    their preferred programs, and the Match Day scheduled for May 3, 2023, we're
    eagerly anticipating the announcement of the successful candidates who will
    begin their fellowship in July 2024.

•   This year, there is a higher demand for pathology residencies, with all but one
    residency position filled, suggesting that the forensic pathology pipeline and
    recruitment efforts are beginning to show positive results. Let's keep this
    momentum going!

•   The NAME Board of Directors held their interim meeting virtually on Thursday,
    April 6, 2023. A new position on “Second Autopsies” was approved. The paper
    is posted on the NAME website https://www.thename.org/name-public-
    position-papers. It was also approved to sunset position paper entitled
    “Utilization of Pathology Assistants in Medical Examiner Offices”.

•   If you missed out on the recent NAME Interim meeting, fear not! The meeting will
    be available on-demand for one month following the live version. Don't miss this
    excellent opportunity to earn continuing education credits. More information to
    come!

•   Lastly, as the famous song goes, "Do you know the way to San Jose?" If you're
    planning to attend the upcoming 2023 annual meeting, make sure to submit your
    abstracts by May 8, 2023, 11:59:59 PM Eastern time. This is your chance to
       showcase your latest research and network with like-minded professionals in the
       field. Abstracts can now be submitted here for the NAME 2023

   •   Our Medical Student Seminar Series continues this month with “Forensic
       Neuropathology” By Amanda Fisher-Hubbard, MD, Deputy Medical Examiner
       at Western Michigan University Homer Stryker M.D. School of Medicine in
       Kalamazoo, Michigan, Thursday, April 20, 2023 at 4:00 PM Eastern Time. Link
       to register for event:
       https://attendee.gotowebinar.com/register/3106522099432833621

For details regarding job opportunities, visit the job postings on the NAME website.
